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         2.3.2019


         United Slates Dislriei Court
         Eastern District of Virginia
         701r j^-13foad Slreot"         —
         Richmond VA 23219
         United States                                                           RrCGlVS-'O
                                                                                 MA>LRCr-M




         Re: 18-4/10GJ3793/19-134
                                                                         CLERK. L*S. niSTI        • ''RT

         Dear Sir/Madam,

         Lilc presents us with situations, to which we have to learn to response in
         appropriate ways to pass the life's exams. I have failed in many ofthem with
         quite severe consequences and there came a stage when I said to myselfthat if 1
         gel myself into a similar position again, I will act otherwise.
         Such time has come and I have every intention to do what is the most
         appropriate under the given circumstances, the only problem I have I do not
         know what it is.

          My case is loosely connected with the case of Mr Julian Assangc, to whom I
        _belic-vc were sent scientificjnaimnls—abouL-Climate changaand safely oi' -
         certain contemporary vaccinations to name few that I collected from the internet
         while living in Sydney and which Wikilcaks published after my return to
         Prague I assume.
         Such topics evoked concerns of the AU intelligence agencies and brought to
         light my failures ofthe past, which seem to cause extreme difTiculties for Mr
         Assangc, who as a publisher actually did not commit any crimes against
         humanity contrary to the intelligence agencies, who use directed energy
         weapons to remotely enslave any human body they chose for different purposes.
         1 can dare to make such a statement because I am targeted by them and my
         country Czech Republic is a witness to it as I am on 24/7 public surveillance
         which includes unheard of mind reading. The global martial law prevents them

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  from speaking about it directly, but when the truth is suppressed to such a
  degree, fake news and symbols replace the truth.

   The tape of my entire life, given to Czech authorities by your government
  suggests that your government is recording all lives of all human beings ofthis
  planet since the fifties.
  So you actually have at your disposal all needed documentation to decide, ifI
  were a terrorist suspect and conspired to commit espionage for which I was put
  into this unhuman position after my return from Sydney to Prague.
  As a foreigner who has never entered the US territory I have no rights
  whatsoever to protect myself against such technologies even if there were laws
  regulating the use ofdirected energy weapons, whose existence has been
  systematically denied-by all governments ofthis planet ex«ept-Russia-, while at
  the same time, covertly used for human experimentation on millions of people
  across the world. I find it surprising that the authorities put the publisher who
  informs the public of such atrocities to a trial and totally ignore the atrocities
  themselves, clearly aspirating for Nuremberg trials.
  Besides there arc two official documents, testifying in favour oftheir presence:
  The US manual Defence Science Board Task Force on Directed energy
  weapons and European Parliaments Crowd control technologies for political
  control.


  I am prepared to accept whatever legal consequences you find appropriate for
  what I had committed in the past but I oppose from the depth of my heart and
  mind the fact that Mr. Assangc has been used as a scapegoat for my failings. I
  am capable of facing them personally.
  The rights ofthe publishers and journalists have been secured by the
  constitutions of all democratic societies to sustain the truth in its existence.
  In the current scientific world ofincreasingly virtual realities such endeavour
  has never been more indispensable. Please reflect this aspect in your court
   decisions.

  Thank You.


   Yours faithfully

   Dagi


   A copy sent to:
   Ministry of Foreign Affairs Czech Republic
   The US Ambassador to Prague
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